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                UNITED STATES COURT OF APPEALS
                                                                  FILED
                          FOR THE NINTH CIRCUIT
                                                                  JUN 04 2020
                                                                 MOLLY C. DWYER, CLERK
                                                                 U.S. COURT OF APPEALS




TROUT UNLIMITED,                            No. 20-35504

            Plaintiff - Appellant,
                                            D.C. Nos.
and
                                            3:19-cv-00265-SLG,
                                            3:19-cv-00267-SLG,
BRISTOL BAY ECONOMIC
                                            3:19-cv-00268-SLG,
DEVELOPMENT CORPORATION;
BRISTOL BAY NATIVE                          U.S. District Court for Alaska,
ASSOCIATION, INC.; UNITED                   Anchorage
TRIBES OF BRISTOL BAY;
BRISTOL BAY REGIONAL                        TIME SCHEDULE ORDER
SEAFOOD DEVELOPMENT
ASSOCIATION, INC.; BRISTOL BAY
RESERVE ASSOCIATION;
SALMONSTATE; ALASKA CENTER;
ALASKA COMMUNITY ACTION ON
TOXICS; ALASKA WILDERNESS
LEAGUE; COOK INLETKEEPER;
DEFENDERS OF WILDLIFE;
EARTHWORKS; FRIENDS OF
MCNEIL RIVER; NATIONAL PARKS
CONSERVATION ASSOCIATION;
NATIONAL WILDLIFE
FEDERATION; NATURAL
RESOURCES DEFENSE COUNCIL;
SIERRA CLUB; WILD SALMON
CENTER; MCNEIL RIVER
ALLIANCE,

            Plaintiffs,



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        Case: 20-35504, 06/04/2020, ID: 11711755, DktEntry: 1-1, Page 3 of 4


   v.

 CHRIS HLADICK, in his official
 capacity as Regional Administrator of
 the U.S. Environmental Protection
 Agency, Region 10; MATTHEW Z.
 LEOPOLD, in his official capacity as
 General Counsel for EPA and delegated
 authority of the Administrator; U.S.
 ENVIRONMENTAL PROTECTION
 AGENCY; ANDREW WHEELER, in
 his official capacity as Administrator,

               Defendants - Appellees,

 STATE OF ALASKA,

        Intervenor-Defendant - Appellee.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
hearings, the transcript deadlines do not apply.

Thu., June 11, 2020           Appellant's Mediation Questionnaire due. If your
                              registration for Appellate CM/ECF is confirmed after
                              this date, the Mediation Questionnaire is due within
                              one day of receiving the email from PACER
                              confirming your registration.
Mon., July 6, 2020            Transcript shall be ordered.
Wed., August 5, 2020          Transcript shall be filed by court reporter.
Mon., September 14, 2020 Appellant's opening brief and excerpts of record
                         shall be served and filed pursuant to FRAP 31 and
                         9th Cir. R. 31-2.1.
Wed., October 14, 2020        Appellees' answering brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.

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       Case: 20-35504, 06/04/2020, ID: 11711755, DktEntry: 1-1, Page 4 of 4

The optional appellant's reply brief shall be filed and served within 21 days of
service of the appellees' brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                             FOR THE COURT:

                                             MOLLY C. DWYER
                                             CLERK OF COURT

                                             By: Ruben Talavera
                                             Deputy Clerk
                                             Ninth Circuit Rule 27-7




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